Case 1:19-cr-00257-WJM Document 1 Filed 05/23/19 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-257-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. ERIC KING,


       Defendant.


                                       INDICTMENT


The Grand Jury charges:
                                        COUNT 1

       On or about August 17, 2018, in the State and District of Colorado, the

defendant, ERIC KING, did forcibly assault, resist, oppose, impede, intimidate, and

interfere with D.W., an employee and officer of the Federal Bureau of Prisons, an

agency of a branch of the United States Government as designated in Title 18, United

States Code, Section 1114, and it is further alleged that the assault resulted in actual

physical contact with, and bodily injury to D.W.

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Case 1:19-cr-00257-WJM Document 1 Filed 05/23/19 USDC Colorado Page 2 of 2




      All in violation of Title 18, United States Code, Section 111(a)(1), (b).


                                                 A TRUE BILL:




                                                 Ink Signature on File in Clerk’s Office
                                                 FOREPERSON


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